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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                    (Northern Division)


UNITED STATES OF AMERICA,                      :
                                               :
               Plaintiff,                      :
                                               :
v.                                             :       Case Number: JKB 16-CR-0259
                                               :
                                               :
JUAN DOMINGUEZ LOPEZ,                          :
                                               :
               Defendant.                      :
                                               :

                      MOTION TO SUPPRESS CELL PHONE DATA

       COMES NOW THE DEFENDANT, JUAN DOMINGUEZ LOPEZ pursuant to

Fed.R.Crim.P 12. He files this application for an order through his court appointed attorney,

William Purpura and Anthony D. Martin, and moves to suppress any evidence taken from his cell

phone at the time of his arrest as being “Fruits of a Poisoned Tree”

                                       Procedural Posture

       Mr. DOMINGUEZ was indicted on August 17th, 2016. . He was arrested and

presented before Magistrate Judge Stephanie A Gallagher on August 24th, 2016. He was

arraigned on August 29th, 2016.        A detention hearing was held the same day, before

Magistrate Judge Beth P. Gesner. Mr. DOMINGUEZ has been detained from the date of his

arrest to the present at the Chesapeake Detention Facility (hereinafter CDF) in Baltimore,

Maryland..     A scheduling order was issued on August 23rd, 2017, directing that pre-trial

motions be filed on or before November 10th, 2017.



                                   Background Information
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       Mr. DOMINGUEZ is charged with two others in a two count indictment; alleging

Conspiracy to Participate in a Crime of Violence in Aid of Racketeering, in violation of 18

USC 1959(a)6 and Committing a Violent Crime in Aid of Racketeering, in violation of 18

USC 1959(a)2; inter alia. He was arrested on August 24th, 2016 under a Federal Warrant. His

arrest followed his photo being shown to two victims of an assault. The photo array and

attendant circumstance was highly suggestive and unreliable. At the time of his arrest, his cell

phone was seized and later mined for data. It is Mr. Dominguez position that the seizure of

information was tainted by the information leading to his arrest.

                                            Argument

      The Photo Arrays Shown to the Victims, of the August 28th, 2015 Assault, Were
Inherently Suggestive and Lacking in Reliability.

       The female victim to the assault made an identification of Mr. Dominguez as the

person who attacked William Chacon only after a second presentation of photos was shown to

her at a later date. With respect to Mr. Chacon, the discovery suggests that he was highly

medicated when he made his identification and the photo(s) was presented not by law

enforcement, but by his father.      Given these two scenarios, the issue of suggestively and

reliability of the identifications needs to be determined before the government is allowed to

present the information to the jury. See, United States v. Sanders, 708 F.3d 976 (7th Cir.

2013); Manson v. Brathwaite, 97 S. Ct.2243, (1977)..

       It has been held that the Constitution protects against “conviction based on evidence of

questionable reliability.” Perry v. New Hampshire, 132 S.Ct. 716, 723 (2012). Unduly

suggestive identification procedures represent one example of those fundamentally unfair

situations. A procedure becomes so flawed as to implicate due process when it creates a “very

substantial likelihood of irreparable misidentification.” Neil v. Biggers, 93 S.Ct. 375, (1972) (
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quoting Simmons v. United States, 390 U.S. 377, 384, 88 S.Ct. 967, 19 L.Ed.2d 1247 (1968)).

In such cases, the identification must be suppressed. Perry, 132 S.Ct. at 724–25. To decide

whether a situation has risen to that level, the courts follow a two-pronged approach. First,

they consider whether the identification procedure used by law enforcement was “both

suggestive and unnecessary.” United States v. Gallo–Moreno, 584 F.3d 751, 757 (7th

Cir.2009). Second, tehy examine the “totality of the circumstances” to determine whether

other indicia of reliability “outweigh[ ] ... the corrupting effect of law enforcement

suggestion.” Perry, 132 S.Ct. at 725 (internal quotation marks omitted); accord Gallo–

Moreno, 584 F.3d at 757.

Any Information that Was Derived as a Result of the Impermissible Identification
Should Be Deemed Inadmissible.

  The exclusionary rule applies not only to that evident unlawfully seized, but

any derivative evidence that would otherwise have not been discovered.

Nardone v. United States, 60 S.Ct. 266, (1939)(establishing the poisoned tree

analogy); Wong Sun v. United States, 83 S.Ct 407 (1963); Baker v. State, 39

Md.App 133, 383 A.2d 698 (1978). Hence for all the reasons argued above, the

Derivative Evidence found in Mr. Dominguez cell phone should be ruled

inadmissible as constituting Fruit of Poisonous Tree.

                                              Prayer

       JUAN DOMINGUEZ LOPEZ requests that the Court rule that the government be

  precluded from introducing evidence of the alleged positive identification or make reference to

  derivative evidence seized from his phone during their opening statement or through the

  testimony of any of its witnesses.
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                             Respectfully submitted,
                             ANTHONY D. MARTIN
                             WILLIAM PURPURA


                       By:   /s/ Anthony D. Martin
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the Motion to Suppress was sent electronically

through the ECF system to the following person(s):


                              Kenneth S. Clark, AUSA
                              US Attorney's Office
                              District of Maryland
                              36 South Charles Street, Suite 400
                              Baltimore, MD 21201



On this Friday, November 10, 2017


                                     By:     /s/ Anthony D. Martin
                                             ANTHONY D. MARTIN, 5224




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